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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                                        CIVIL ACTION

VERSUS                                                                       NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                                     SECTION: “I”(5)



                                                   ORDER

        At a status conference held March 16, 2022, the Court yet again expressed its ongoing

concern over the lengthy delays in progress toward completion of the Phase III project, most

particularly new delays (set forth in the March status report (Rec. doc. 1496)) that seemed

inexplicable based on the then-extant record. The Court ordered the City

                 to produce to the parties and to the Court all documentation of
                 any sort (i.e., written correspondence, emails, and/or minutes of
                 meetings or telephone conferences) of communications
                 between the City and/or its consultants on the one hand and
                 FEMA on the other regarding the alleged need to “reopen” or
                 extend the 106 process, including FEMA’s direction that
                 additional public hearings are required prior to the
                 procurement phase being initiated. To be clear, the Court finds
                 that the parties and the Court are entitled to a full explanation
                 and documentation as to whether and why FEMA is actually
                 requiring the 106 process to take place yet again (when that
                 process was apparently undertaken and completed at least a
                 year ago) or whether the decision to reopen the process is either
                 discretionary or was otherwise made by the City without a
                 directive from FEMA.
                                                            (Rec. doc. 1497).

The City produced those documents 1 on March 25, 2022 and, after reviewing them, the Court

ordered a follow-up status conference to be held, stating that at the conference,


1 Plaintiffs and DOJ later filed a notice indicating that the City’s production was incomplete and supplementing
the record with what they claimed were additional responsive documents. (Rec. doc. 1503).
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                  The City shall be prepared to explain the apparent inconsistency
                  between its representations at the recent status conference
                  (“FEMA reviewed it, came back to us and said, because of all the
                  controversy surrounding the project, they felt that we needed to
                  do additional public outreach.”) and the documents it recently
                  produced (“FEMA staff advised CNO that it may not be in the
                  public’s best interest to continue to solicit public engagement
                  while there are ongoing legal challenges which may affect the
                  final design and character of CNO’s solution to Consent Decree
                  requirements.”) (Rec. doc. 1498-5 at 6). The City is attempting
                  to convince the Court that FEMA is requiring additional public
                  engagement/hearings as justification for a significant delay in
                  beginning the procurement phase of the Phase III project and
                  the documents in the record simply do not support that
                  contention. The Court expects a plausible explanation for this
                  and a firm commitment from the City to begin procurement with
                  no further delays.
                                                              (Rec. doc. 1501).

          To be kind, the City’s explanations were less than satisfying.

          With no documentary support at all, the City, through Capital Projects Director, Vince

Smith, continues to suggest that FEMA is requiring the City to hold additional public hearings

as part of the “106”/NEPA 2 process. At this point, however, rather than belabor the Court’s

extreme skepticism as to the veracity of the City’s attempts to explain ongoing delays, the

Court chooses to focus on a single, overriding objective – moving this project forward with

no further undue delay.

          Over the many years that have passed since the City agreed to construct an 89-bed

special needs facility, i.e., Phase III, we have experienced countless unnecessary delays. The

City has variously blamed those delays on the Sheriff, the plaintiffs and DOJ, the prior

administration, City Council, COVID-19 and now FEMA. What is undeniable at this point is

that responsibility for the failure to advance this project even to the procurement phase,



2   “NEPA” stands for National Environmental Policy Act.

                                                      2
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despite years to do so, falls directly and completely on the City. History teaches that the

Court has been far too generous in accepting the City’s excuses and acceding to its requests

for more time. That forbearance ends today.

        As discussed at the status conference, the Court hereby ORDERS that, no later than

May 13, 2022, the City complete its NEPA application/report and forward it to FEMA in order

that FEMA can conduct its review and complete the NEPA process and thereby obligate the

funds necessary to begin procurement for the Phase III project. In its last status report, the

City suggested it could complete its work for the NEPA process on May 24, 2022, but it has

already asked FEMA (but, notably, not this Court) for yet more time, establishing yet again

that the deadlines the City gives to the Court are routinely written in disappearing ink. No

more.

        The City will complete its NEPA-associated tasks no later than May 13, 2022 and shall

certify that completion to the Court. 3 Failure to do so will result in the immediate scheduling

of a Rule to Show Cause why the City should not be held in contempt – not only for dragging

its feet on the NEPA process but for its years-long intransigence and unjustified delaying of

the Phase III project as a whole.

        Moreover, the City is warned in the strongest possible terms that the Court will not

tolerate any more delays in this process that are caused by the City. This includes, but is not

limited to, any suggested delays the City might later suggest are warranted by its inability

(or unwillingness) to allocate funding to cover the “gap” between the FEMA funds that the

City chooses to allocate to Phase III and the actual cost of construction of that project.


3 The Court emphasizes her that the City will complete these tasks, not that it will “attempt” to complete them,
as suggested by the City Attorney at the status conference. At long last, mere attempts will not suffice – only
successful completion will do.

                                                       3
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       If the Court has not been clear enough, let this serve as confirmation – any future

delays toward completion of the Phase III project that are deemed by the Court to be

occasioned by the unexplained, unreasonable, or unnecessary actions or decisions of the City

of New Orleans will be met directly with contempt proceedings.



                                                 _______________________________________________
                                                          MICHAEL B. NORTH
                                                  UNITED STATES MAGISTRATE JUDGE

 MJSTAR (00:45)




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